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                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION
MICHAEL E. NEELD,

Plaintiff

v

THE BANK OF NEW YORK MELLON,                            Case No. SA-22-CV-00085-JKP

Defendant



                                           ORDER

       Before the Court is the parties’ Joint Stipulation of Dismissal stating they wish to dismiss

this cause with prejudice. ECF No. 6. In accordance with Federal Rule of Civil Procedure 41(a)

and the terms of the Proposed Order, it is ORDERED all causes of action asserted by any party

and any potential cause of action related to this matter are DISMISSED with prejudice.

       IT IS FURTHER ORDERED any pending motions are DENIED as moot.

       IT IS FURTHER ORDERED all costs and attorneys’ fees shall be paid by the party

incurring them.

       The Clerk of Court is DIRECTED to close the case.

       It is so Ordered.
       SIGNED this 8th day of February, 2022.




                                     JASON PULLIAM
                                     UNITED STATES DISTRICT JUDGE
